                              Case 23-10700-CTG                        Doc 1        Filed 05/31/23            Page 1 of 28

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                   Delaware
                                        (State)
 Case number (If known): _________________________
                          23-                      Chapter _____
                                                             11
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Agspring Idaho 1, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 3 – ___
                                                       2 ___
                                                          8 ___
                                                             5 ___
                                                                1 ___
                                                                   7 ___
                                                                      2 ___
                                                                         0
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              5101 College Boulevard
                                              ______________________________________________                _______________________________________________
                                              Number     Street                                             Number     Street

                                              ______________________________________________                _______________________________________________
                                                                                                            P.O. Box

                                              Leawood                     KS       66211
                                              ______________________________________________                _______________________________________________
                                              City                              State     ZIP Code          City                      State      ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                              Johnson
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                              Case 23-10700-CTG                 Doc 1         Filed 05/31/23              Page 2 of 28

Debtor        Agspring Idaho 1, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
                                                                                                                      23-
              Name




 6.   Type of debtor                      
                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                              4 ___
                                                 9 ___
                                                    3 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                                 Case 23-10700-CTG                Doc 1       Filed 05/31/23            Page 3 of 28

Debtor          Agspring Idaho 1, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                                                                                                                     23-
                Name



 9.    Were prior bankruptcy cases        
                                          x No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             
                                          x Yes.    Debtor _____________________________________________
                                                           See Schedule 1                                Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          x No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                               Case 23-10700-CTG                 Doc 1         Filed 05/31/23             Page 4 of 28

Debtor        Agspring Idaho 1, LLC
              _______________________________________________________                           Case number (if known)_____________________________________
                                                                                                                        23-
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         X Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         
                                         X 1-49                              1,000-5,000                                 25,001-50,000
 14.   Estimated number of                50-99                             5,001-10,000                                50,001-100,000
       creditors
                                          100-199                           10,001-25,000                               More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                      $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                         
                                         X $100,001-$500,000                 $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                   More than $50 billion

                                         
                                         X $0-$50,000                        $1,000,001-$10 million                      $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                   More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on 05/31/2023
                                                         MM / DD / YYYY


                                         /s/ Kyle Sturgeon                                               Kyle Sturgeon
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name


                                             Title _________________________________________
                                                     Chief Restructuring Officer




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                            Case 23-10700-CTG                    Doc 1          Filed 05/31/23       Page 5 of 28

Debtor         Agspring Idaho 1, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
                                                                                                                  23-
              Name




 18.   Signature of attorney
                                           /s/ Laura Davis Jones                                    Date          05/31/2023
                                                                                                                   MM/ DD/ YYYY

                                             Signature of attorney for debtor

                                            Laura Davis Jones
                                           Printed name
                                          PACHULSKI     STANG ZIEHL & JONES LLP Firm name
                                           _________________________________________________________________________________________________
                                           _________________________________________________________________________________________________
                                           919 North Market
                                           Number     Street
                                                              Street, 17th Floor
                                           Wilmington                                           DE
                                           ____________________________________________________ ____________ 19801
                                                                                                             ______________________________
                                           City                                                            State          ZIP Code

                                           (302) 652-4100
                                           ____________________________________                            ljones@pszjlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            2436                                                           DE
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                Case 23-10700-CTG         Doc 1     Filed 05/31/23     Page 6 of 28




                                 Rider 1 to Voluntary Petition

On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
11 case (collectively, the "Debtors"), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.

Agspring, LLC

Agspring Idaho 1, LLC

Agspring Idaho 2, LLC

Agspring Idaho, LLC

FO-ND, LLC dba Firebrand Artisan Mills

Agspring Logistics, LLC dba Agforce




US_ACTIVE\123675639\V-1
               Case 23-10700-CTG          Doc 1    Filed 05/31/23      Page 7 of 28




                                  AGSPRING IDAHO 1, LLC

      Omnibus Written Consent for Appointment of Chief Restructuring Officer and
                             Bankruptcy Petition Filing

                                          May 25, 2023

        The undersigned, constituting the sole Manager with authority to vote on the matter
presented herein of Agspring Idaho 1, LLC, a Delaware limited liability company (the
“Company”), hereby consents in writing, pursuant to the laws of its jurisdictions of formation, and
hereby adopts the following resolutions, effective as of the date first written above, and waives all
notice requirements in connection therewith.

       WHEREAS, pursuant to that Amended and Restated Limited Liability Company
Agreement of Agspring Idaho 1, LLC, dated effective as of January 29, 2022 (the “LLC
Agreement”), the business affairs of the Company are managed by a manager (the “Manager”)
who shall make all decisions and elections for the Company and have the maximum authority
permitted under the Delaware Limited Liability Company Act, as amended (the “Act”).

     WHEREAS, I, as Manager, have considered the financial and operational aspects of the
Company’s business and the recommendations of the Company’s professionals and advisors;

        WHEREAS, I, as Manager, have reviewed the historical performance of the Company,
the assets of the Company, the current and long-term liabilities of the Company, and the current
operational status of the Company;

        WHEREAS, I, as Manager, have reviewed, considered, and received the
recommendations of the professionals and advisors of the Company as to the terms of the proposed
restructuring and liquidation to be implemented during the course of a chapter 11 case of the
Company;

       WHEREAS, in my judgment as Manager, it is advisable and in the best interests of the
Company to create a Chief Restructuring Officer position, appoint an individual to such Chief
Restructuring Officer positions, and to delegate certain of the rights, powers, and duties of the
Manager to manage and control the business and affairs to such Chief Restructuring Officer;

       WHEREAS, in my judgment as Manager, it is advisable and in the best interests of the
Company to retain MERU, LLC (“MERU”) to provide services, including the services of a Chief
Restructuring Officer, and to be compensated as described in the MERU engagement letter in
substantially the form attached hereto as Exhibit A (the “MERU Engagement Letter”).

        WHEREAS, in my judgment as Manager, it is advisable and in the best interests of such
Company to appoint Kyle Sturgeon, Managing Partner of MERU, as the Chief Restructuring
Officer of the Company with the role and responsibilities as described in the MERU Engagement
Letter.
               Case 23-10700-CTG         Doc 1     Filed 05/31/23     Page 8 of 28




        WHEREAS, I, as Manager, have authorized the Company to take the actions set forth in
these resolutions.

       NOW, THEREFORE, be it resolved as follows:

      RESOLVED, that Mr. Sturgeon is appointed as Chief Restructuring Officer of the
Company, effective as of the date hereof and retains MERU to provide services and be
compensated as described in the MERU Engagement Letter.

        RESOLVED, that in the judgment of the Chief Restructuring Officer and the Manager, it
is necessary, advisable and in the best interests of the Company, having considered the interests of
creditors and other interested parties, that a voluntary petition be filed by the Company under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

        RESOLVED FURTHER, that the Company is authorized and empowered to engage and
retain the law firm of Dentons US LLP (“Dentons”) as restructuring and general bankruptcy
counsel to the Company to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights, including the
preparation of pleadings and filings in the Chapter 11 Case, and in connection therewith, the
Company is hereby authorized and directed to execute appropriate retention agreements, pay
appropriated retainers prior to and immediately upon the filing of the Chapter 11 Case, and to
cause to be filed appropriate applications for authority to retain the services of Dentons;

        RESOLVED, FURTHER, that Mr. Sturgeon, as Chief Restructuring Officer, is
authorized and empowered on the Company’s behalf to take or cause to be taken any and all such
other and further action, and to execute, acknowledge, deliver and file any and all such instruments
as they, in their discretion, may deem necessary or advisable in order to carry out the purpose and
intent of the foregoing resolutions; and

       RESOLVED, FURTHER, that the Company, Mr. Sturgeon, and such other officers or
representatives as the Company or Mr. Sturgeon may designate, be, and hereby are, authorized
and empowered to make requests to carry out the foregoing, as necessary, from the Term Loan
Lenders (as such term is understood under the certain Term Credit Agreement dated as of
December 14, 2015 among Agspring, LLC, the guarantors party thereto (including the Company),
and the Lenders party thereto and U.S. Bank National Association, as the Administrative Agent
(as amended, restated, supplemented or otherwise modified from time to time, the “Credit
Agreement”) to use funds currently held by the Company which constitute cash collateral under
the Credit Agreement.

                                      Omnibus Resolutions

        RESOLVED, FURTHER, that to the extent any prior resolutions of the Company purport
to contradict the resolutions and actions contained herein, the resolutions of this written consent
shall supersede such prior resolutions and represent the will of the Company.
              Case 23-10700-CTG         Doc 1    Filed 05/31/23     Page 9 of 28




               RESOLVED, FURTHER, that the undersigned hereby ratify and confirm all
actions taken by the Company and other representatives of the Company prior to the date hereof
in furtherance of the foregoing resolutions.

        RESOLVED, FURTHER, that this consent may be executed electronically (including by
.pdf) in any number of counterparts, each of which shall constitute an original, but all of which
when taken together shall constitute a single consent, and shall have the force and effect of an
action of the respective boards, sole members, or sole shareholders, at a duly called and held
meeting of such parties.

                                   [Signature Page Follows]
              Case 23-10700-CTG         Doc 1     Filed 05/31/23     Page 10 of 28




       This Written Consent is effective as of the date first written above.

                                             On behalf of:

                                             AGSPRING LOGISTICS, LLC;
                                             By its sole Manager




                                             Name: Bruce Chapin



As accepted and acknowledged by:

KYLE STURGEON
Its Chief Restructuring Officer




Title: Chief Restructuring Officer




         [Signature Page to Written Consent for Petition Filing of Agspring Idaho 1, LLC]
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 11 of 28




             Exhibit A: Engagement Letter
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 12 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 13 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 14 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 15 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 16 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 17 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 18 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 19 of 28
Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 20 of 28
                                    Case 23-10700-CTG                Doc 1          Filed 05/31/23             Page 21 of 28

       Fill in this information to identify the case:

       Debtor name   Agspring Idaho 1, LLC
       United States Bankruptcy Court for the:                      District of   Delaware
                                                                                   (State)                                                       Check if this is an
       Case number (If known):    23-                                                                                                            amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Consolidated Creditors Who Have the 20
 Largest Unsecured Claims and Are Not Insiders                                 12/15

 A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest
 unsecured claims.


     Name of creditor and complete               Name, telephone number, and email           Nature of       Indicate if   Amount of unsecured claim
     mailing address, including zip              address of creditor contact                 the claim       claim is      If the claim is fully unsecured, fill in only
     code                                                                                    (for example,   contingent,   unsecured claim amount. If claim is
                                                                                             trade debts,    unliquidated, partially secured, fill in total claim
                                                                                             bank loans,     or disputed   amount and deduction for value of
                                                                                             professional                  collateral or setoff to calculate
                                                                                             services, and                 unsecured claim.
                                                                                             government
                                                                                             contracts)                       Total       Deduction Unsecured
                                                                                                                              claim, if   for value claim
                                                                                                                              partially   of
                                                                                                                              secured     collateral
                                                                                                                                          or setoff

                                                  Telephone: (800) 899-4766
          Iron Mountain
1.                                                Email:
          P.O. Box 27128                                                                      Trade Debt                                                  $2,414.24
                                                  Askcustomerservice@ironmountain.com
          New York, NY 10087


          Spectrum Business
2.                                                Telephone: (800) 314-7195
          4145 S Falkenburg Rd                                                                Trade Debt                                                  $2,358.44
          Riverview, FL 33578-8652

          Business Wire                           Telephone: (310) 820-9473
3.
          P.O. Box 884182                         Email: media@businesswire.com               Trade Debt                                                  $2,100.00
          Los Angeles, CA 90088

                                                                                                                                                          $1,100.00
          NetStandard                             Telephone: (913) 428-4200
4.        P.O. Box 729                                                                        Trade Debt
          Wichita, KS 67201


          Shred-it/Stericycle                     Telephone: (866) 783-7422
5.
          28883 Network Place                     Email: customercare@stericycle.com          Trade Debt                                                   $272.00
          Chicago, IL 60673

           ConvergeOne
           5940 Golden Hills Dr.
6.                                                Telephone: (888) 321-6227
           Minneapolis, MN 55416                                                              Trade Debt                                                   $145.52




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      Page 1
                 Case 23-10700-CTG               Doc 1      Filed 05/31/23         Page 22 of 28




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


                                                             Chapter 11
    In re:
    AGSPRING LLC, et al.,1
                                                             Case No. 23 -                (    )
                         Debtors.
                                                             (Joint Administration Requested)




                  COMBINED CORPORATE OWNERSHIP STATEMENT
                AND LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
                    FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), and 7007.1

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, Agspring, LLC and certain of its affiliates, who are or may be debtors and debtors in

possession in the above-captioned cases (each a “Debtor” and collectively, the “Debtors”), hereby

state as follows:

             1. Debtor Agspring, LLC is 100% owned by non-debtor Agspring Holdco, LLC, its

                  sole member.

             2. Debtor Agspring, LLC is the Sole Member of Debtor Agspring Idaho 1, LLC.

             3. Debtor Agspring Idaho 1, LLC is the Sole Member of Debtor Agspring Idaho 2,

                  LLC.

             4. Debtor Agspring 2 Idaho, LLC is the Sole Member of Debtor Agspring Idaho,

                  LLC.




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring, LLC (7735); Agspring Idaho 1, LLC (1720); Agspring Idaho 2, LLC (9262); Agspring Idaho, LLC
(8754); FO-ND, LLC dba Firebrand Artisan Mills (1520) and Agspring Logistics, LLC, dba Agforce (6067). The
Debtors’ mailing address is 5101 College Boulevard, Leawood KS, 66211.



US_ACTIVE\123729147\V-1
               Case 23-10700-CTG      Doc 1    Filed 05/31/23   Page 23 of 28




            5. Debtor Agspring, LLC is a Sole Member of Debtor FO-ND, LLC dba Firebird

                Artisan Mills, LLC.

            6. Debtor Agspring, LLC is the Sole Member of Debtor Agspring Logistics, LLC dba

                Agforce.




US_ACTIVE\123729147\V-1
                                 Case 23-10700-CTG                Doc 1           Filed 05/31/23              Page 24 of 28

 Fill in this information to identify the case and this filing:


              Agspring Idaho 1, LLC
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):     23-
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         x    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                          Combined Corporate Ownership Statement and List Equity Security Holders,
         
         x                                              Certification of Creditor Matrix
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 05/31/2023                                /s/ Kyle Sturgeon
                           MM / DD / YYYY                      Signature of individual signing on behalf of debtor



                                                                 Kyle Sturgeon
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 23-10700-CTG        Doc 1     Filed 05/31/23    Page 25 of 28




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                           Chapter 11

 AGSPRING IDAHO 1, LLC,                           Case No. 23- _____ (___)

                      Debtor.                     (Joint Administration Requested)



                            CERTIFICATION OF CREDITOR MATRIX

       Pursuant to Rule 1007-2 and on behalf of the above-captioned Debtor, I hereby certify that
the Creditor Matrix submitted herewith contains the names and addresses of the Debtor’s creditors.
To the best of the Debtor’s knowledge, the Creditor Matrix is complete, correct, and consistent
with the Debtor’s books and records.

         The information contained herein is based upon a review of the Debtor’s books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtor.




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                 Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 26 of 28



Accident Fund Insurance
Company of America
200 N Grand Ave
Lansing, MI 48901-7990
All Copy Products, Inc.
7920 Marshall Dr.
Lenexa, KS 66214

AIM c/o The American
Infrastructure MLP Fund II, L.P.
Attn: Brian Barlow/Matt Garibaldi
950 Tower Lane, Suite 800
Foster City, California 94404

AIM c/o Latham & Watkins LLP
Attn: William N. Finnegan IV
811 Main Street
Suite 3700
Houston, Texas 77002

Bank of America
NC1-030-22-02
Bank of America Tower
620 S. Tyron
Charlotte, NC 28255

Blue Cross Blue Shield
of Kansas City
2301 Main Street
Kansas City, MO 64108

Boan, Connealy & Houlehan LLC
Attn: Melissa Stephens, CPA
13220 Metcalf Ave
Suite 100
Overland Park, KS 66213

CBIZ MHM, LLC
Attn: Jeffrey Fox
700 West 47th Street
Suite 1100
Kansas City, MO 64112

ConvergeOne, Inc.
5940 Golden Hills Dr.
Minneapolis, MN 55416



US_ACTIVE\123777896\V‐1
                 Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 27 of 28



Delaware State Treasury
820 Silver Lake Blvd.
Suite 100
Dover, DE 19904

Delta Dental of Kansas
11300 Tomahawk Creek Parkway,
Ste 350
Leawood, KS 66211

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

IMA, INC.
Attn: Kenneth Hallacy
430 E Douglas Ave
Wichita, KS 67202

IPFS Corporation
1055 Broadway, 11th Floor
Kansas City, MO 64105

Iron Mountain
P.O. Box 27128
New York, NY 10087

MERU, LLC
Attn: Kyle Sturgeon
1372 Peachtree Street, N.E.
Atlanta, GA 30309

Piper Sandler & Co.
880 Nicollet Mall
Suite 900
Minneapolis, MN 55402

Securian
2701 University Ave SE,
Minneapolis, MN 55414

Secretary of State
Division of Corporations
Franchise Tax
P.O. Box 898
Dover, DE 1990



US_ACTIVE\123777896\V‐1
                 Case 23-10700-CTG   Doc 1   Filed 05/31/23   Page 28 of 28



Securities & Exchange Commission
100 F Street, NE
Washington, DC 20549

Securities and Exchange Commission
Attn: Andrew Calamari, Regional Director
New York Regional Office
Brookfield Place
200 Vesey Street, Suite 400
New York, NY 10281-1022

Seward & Kissel LLP
One Battery Park Plaza
New York, NY 10004

Standard Insurance
1100 SW 6th Ave., Suite 711
Portland, OR 97214

Surency
1619 N Waterfront Pkwy
Wichita, KS 67206

UMB Bank, N.A.
1010 Grand Blvd.
Kansas City, MO 64106

US Bank
800 Nicollet Mall
Minneapolis, MN 55402

LVS II SPE XVIII LLC, HVS V LLC,
TOBI XXI, LLC
U.S. Bank National Association
214 N. Tryon Street
27th Floor
Charlotte, NC 28202

Wells Fargo Bank, National Association
Attn: Alexander S. Grose
750 N. St. Paul, Suite 1750
Dallas, Texas 75025

Wells Fargo Vendor Financial
1010 Thomas Edison BLVD SW
Cedar Rapids, IA 52404



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